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NOT FOR PUBLICATION



                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


                                                    :
  UNITED STATES OF AMERICA,                         :
                                                    :
                                                    :      OPINION
                         v.                         :
                                                    :      No. 2:11-cr-00315 (WHW)
  MITCHELL KURLANDER and ALAN                       :
  ABESHAUS,                                         :
                                                    :
                                 Defendants.        :
                                                    :
                                                    :
                                                    :

Walls, Senior District Judge

       Gerry and Patricia Dale (“Relators”) move for reconsideration of this Court’s order of June

10, 2014, denying their motion for intervention in the above-captioned criminal matter for the

purpose of obtaining a relator’s share of the criminal fines, restitution and/or forfeiture paid by

Defendants. Relators’ motion is denied.

       In its opinion denying Relators’ motion for intervention, ECF No. 67, this Court did not

overlook any settled law. There has been no intervening change in the law, and no new evidence

not previously available has emerged. Relators did not present anything in the motion for

reconsideration that they did not present before—nothing is being said now that was not said then.

As a result, this motion for reconsideration is denied. See North River Ins. Co. v. CIGNA Reins.

Co., 52 F.3d 1194, 1218 (3d Cir. 1995); Max’s Seafood Cafe ex rel. Lou-Ann v. Quinteros, 176

F.3d 669, 677 (3d Cir. 1999); Buffa v. N.J. State Dep’t of Judiciary, 56 Fed. App’x 571, 575 (3d

Cir. 2003); Gutierrez v. Ashcroft, 289 F. Supp. 2d 555, 561 (D.N.J. 2003); Charles A. Wright,

Arthur R. Miller & Mary Kay Kane, Federal Practice and Procedure § 2810.1 (3d ed. 2013).
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                                       CONCLUSION

       Relators’ motion for reconsideration is denied. An appropriate order follows.

Date: July 22, 2014



                                                            /s/ William H. Walls
                                                            United States Senior District Judge




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